                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                  AT CHATTANOOGA

 RICHARD SOWAH,                                 )
                                                )
              Plaintiff,                        )
                                                )           No.:   1:21-CV-218-CEA-SKL
 v.                                             )
                                                )
 CO GREENLAW, JOE GUY,                          )
 MCMINN COUNTY SHERIFF’S                        )
 OFFICE, CPL. STEWART, CPL.                     )
 ELLISON, SGT. RUEBUSH, and                     )
 LT. JASON BAUTSCH,                             )
                                                )
              Defendants.                       )

                                    JUDGMENT ORDER

       For the reasons set forth in the Memorandum and Order filed herewith, it is ORDERED

and ADJUDGED that this prisoner’s pro se civil rights action, filed under 42 U.S.C. § 1983, is

DISMISSED for failure to state a claim upon which relief may be granted. 28 U.S.C. §§

1915(e)(2)(B) and 1915A(b)(1).

       Because the Court CERTIFIED in the Memorandum and Order that any appeal from this

order would not be taken in good faith, should Plaintiff file a notice of appeal, he is DENIED

leave to appeal in forma pauperis. See 28 U.S.C. § 1915(a)(3); Fed. R. App. P. 24.

       The Clerk is DIRECTED to close the file.

       SO ORDERED.

                                            /s/ Charles E. Atchley, Jr.____________
                                            CHARLES E. ATCHLEY, JR.
                                            UNITED STATES DISTRICT JUDGE


 ENTERED AS A JUDGMENT
 /s/ LeAnna R. Wilson
 CLERK OF COURT




Case 1:21-cv-00218-CEA-SKL Document 7 Filed 10/13/21 Page 1 of 1 PageID #: 47
